

Snyder Corp. v Fitness Ridge Worldwide, LLC (2020 NY Slip Op 04283)





Snyder Corp. v Fitness Ridge Worldwide, LLC


2020 NY Slip Op 04283


Decided on July 24, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 24, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, PERADOTTO, NEMOYER, AND WINSLOW, JJ.


1161 CA 19-01052

[*1]SNYDER CORP., BEAVER HOLLOW WELLNESS LLC, AND FRW BEAVER HOLLOW MANAGEMENT, LLC, PLAINTIFFS-APPELLANTS,
vFITNESS RIDGE WORLDWIDE, LLC, FITNESS RIDGE, LLC, LAWRENCE S. BOND, LESLEY A. CAREY, DAVID M. MARSHALL, KENNETH M. PRESSBERG, ARI D. BASS, ROGER W. BULLOCH, SCOTT R. BULLOCH, MATTHEW S. HAGLER, DEFENDANTS-RESPONDENTS, ET AL., DEFENDANTS. (APPEAL NO. 2.) 






PHILLIPS LYTLE LLP, BUFFALO (JOANNA J. CHEN OF COUNSEL), FOR PLAINTIFFS-APPELLANTS. 
HAGERTY &amp; BRADY, BUFFALO (MICHAEL A. BRADY OF COUNSEL), FOR DEFENDANTS-RESPONDENTS.


	Appeal from an order of the Supreme Court, Wyoming County (Deborah A. Chimes, J.), entered May 9, 2019. The order stayed all claims remaining in this action pending arbitration. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on July 2, 2020,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: July 24, 2020
Mark W. Bennett
Clerk of the Court








